                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


   IN RE:                                         )
                                                  )
   ROBERTS, WILLIAM BARRIER                       ) CASE NO. 18-83442-CRJ11
   SSN: XXX-XX-9314                                 CHAPTER 11
                                                  )
       Debtor.                                    )
                                                  )


                 MOTION TO RECONSIDER ORDER DATED MAY 31, 2019

        COMES NOW, William Roberts, the Debtor, by and through undersigned counsel, and

 hereby requests this Court to reconsider its Order dated May 31, 2019 [Doc. 111] on Debtor’s

 Motion to Withdraw Approval of Blake Cantrell of Coldwell Bank of the Valley as Realtor for the

 Debtor, which was filed in Response to the Bankruptcy Administrator’s Recommendation on the

 Debtor’s Application to Employ Julie Lockwood of Van Valkenburgh & Wilkinson Prop., as

 Realtor. [Doc. 107]. In support thereof, the Debtor states as follows:

        1.       On February 4, 2019, Debtor filed an Application to Employ Blake Cantrell of

 Coldwell Bank of the Valley as Realtor nunc pro tunc [Doc. 44]. On February 22, 2019 this Court

 entered an Order Approving Debtor’s Application to Employ Realtor [Doc. 56].

        2.       On May 15, 2019, Debtor filed an Application to Employ Julie Lockwood of Van

 Valkenburgh & Wilkinson, Prop., as Realtor for Debtor nunc pro tunc [Doc. 91].

        3.        On May 29 ,2019, the Bankruptcy Administrator filed his Recommendation on

 Debtor’s Application to Employ Julie Lockwood of Van Valkenburgh & Wilkinson, Prop., as

 Realtor [Doc. 103] and recommended that the court not approve the Debtor’s application until




Case 18-83442-CRJ7        Doc 116    Filed 06/19/19 Entered 06/19/19 15:16:02         Desc Main
                                    Document     Page 1 of 3
 further information was supplied as to the ongoing employment of Blake Cantrell of Coldwell

 Banker of the Valley.

        4.      In response to the BA’s recommendation, on May 30, 2019, Debtor filed a Motion

 to Withdraw Approval of Blake Cantrell of Coldwell Bank of the Valley as Realtor for the Debtor.

 [Doc. 107].

        5.      On May 31, 2019, this Court entered an Order (Doc.111], approving the withdrawal

 of Debtor’s Application to Employ Julie Lockwood as Realtor instead of approving the withdrawal

 of Blake Cantrell as Realtor.

        WHEREFORE, premises considered, Debtor requests this Honorable Court to enter an

 Order approving the withdrawal of Blake Cantrell of Coldwell Banker of the Valley and further

 approving the application of Julie Lockwood of Van Valkenburgh & Wilkinson Prop. as realtor

 for the Debtor, and for such other and further relief as this Court deems just and proper.

        Respectfully submitted June 19, 2019.

                                                      /s/ Stuart M. Maples
                                                      STUART M. MAPLES (ASB-1974-S69S)
                                                      DEANNA S. SMITH (ASB-3083-E39S)

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com
 dsmith@mapleslawfirmpc.com




Case 18-83442-CRJ7        Doc 116    Filed 06/19/19 Entered 06/19/19 15:16:02                 Desc Main
                                    Document     Page 2 of 3
                                 CERTIFICATE OF SERVICE

         I do hereby certify that on June 19, 2019, a copy of the foregoing document was served on
 the following by the means indicated below:

 Richard Blythe
 Bankruptcy Administrator
 richard_blythe@alnba.uscourts.gov

 All parties requesting notice via CM/ECF

 Via U.S. Mail to all creditors on matrix


                                                            /s/ Stuart M. Maples
                                                            STUART M. MAPLES




Case 18-83442-CRJ7        Doc 116    Filed 06/19/19 Entered 06/19/19 15:16:02           Desc Main
                                    Document     Page 3 of 3
